846 F.2d 75Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Robert WATSON, Plaintiff-Appellant,v.E.B. WRIGHT, Warden, Medical Department, Brunswick, WilliamP. Rogers, Medical Department, State Farm, Millie Jackson,Nurse, Mrs. Plummer, Nurse, Jusy Burtch, Nurse, Tommy Szabo,Nurse, Dr. Campbell, Dr. Hundley, Mrs. Smith, Nurse, JulieLafoon, Nurse, Defendants-Appellees.
    No. 87-7702.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 23, 1987.Decided April 15, 1988.
    
      Robert Watson, appellant pro se.
      Peter Harris Rudy, Assistant Attorney General, for appellees Wright and Rogers.
      Mary Moffett Hutcheson Priddy, McGuire, Woods, Battle &amp; Boothe, for appellees Medical Department, Brunswick, Medical Department, State Farm, Jackson, Plummer, Burtch, Szabo, Campbell, Hundley, Smith and Lafoon.
      Before JAMES DICKSON PHILLIPS, CHAPMAN, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal from its order refusing relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Watson v. Wright, C/A No. 85-250-R (E.D.Va. Sept. 2, 1987).  Watson's "Motion for Appointment of Counsel" is denied.
    
    
      2
      AFFIRMED.
    
    